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GLERK'S OFFICE U.S. DIST. COURT
AT ROANOKE, VA
FILED

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

ROANOKE DIVISION
VASU D. AURORA, M.D., )
)
Piaintiff, ) Civil Action No. 7:05-ev-188
) Criminal Action No. 1:98-cr-00072
)
v. ) ORDER
)
JOHN S. EDWARDS, )
MICHELLE DERRIKO, )
MICHAEL J. BARBOUR, )
TERRY G. KILGORE, )
JOHN R. FLEDER, )
DOE 1-25, ) By: Hon. James C. Turk
) Senior United States District Judge
Defendants. )

tn accordance with the accompanying memorandum opinion, and as Aurora has not
submitted any evidence of having obtained certification from the Court of Appeals to file a second
or successive § 2255 motion, it is hereby ORDERED that the above referenced motion to vacate,
set aside or correct sentence pursuant to 28 U.S.C. § 2255 is DISMISSED without prejudice as
successive, and defendants’ motion to dismiss concerning Aurora’s malpractice claims is
GRANTED. This case is stricken from the active docket of this court.

Petitioner is hereby advised of the procedure for obtaining certification from the United
States Court of Appeals for the Fourth Circuit to have this court review a successive § 2255 motion.
Petitioner must submit a copy of successive § 2255 motion to the Court of Appeals, along with a
motion requesting a three-judge panel certification that the district court may review the successive
§ 2255 motion. See 28 U.S.C. §2244 (as amended, 1996), A Fourth Circuit form and instructions

for filing this motion are available from the Fourth Circuit at the following address: Office of the
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Clerk, United States Court of Appeals for the Fourth Circuit, 900 E. Main St., Richmond, VA
23219.
The Clerk is directed to send certified copies of this order to Aurora and counsel for the

defendants.

ENTER: This /7 _ day of October, 2005.

SENIOR UNITED STATES ww JUDGE

